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                        UNITED STATES DISTRICT OF CALIFORNIA
17
                           CENTRAL DISTRICT OF CALIFORNIA
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19    GERALDINE DRAKE, MARIO BATZ,                Case No.
      BRIAN KIRBY, and AURORA KIRBY,
20
                   Plaintiffs,                    COMPLAINT
21
                   v.
22                                                DEMAND FOR JURY TRIAL
      PRINCESS CRUISE LINES LTD.,
23
                  Defendant.
24

25

26         PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND
27         COME NOW, Plaintiffs Geraldine Drake, Mario Batz, Brian Kirby, and Aurora
28   Kirby by and through their undersigned counsel, and file their Plaintiffs’ Original
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 1   Complaint and Jury Demand against Defendant, PRINCESS CRUISE LINES LTD.
 2   (hereinafter, "PRINCESS"), and would respectfully show the Court as follows:
 3                                                I.
 4                                            PARTIES
 5         1.     Plaintiff Geraldine Drake is sui juris, is a resident of Fairfax, California, and
 6   was a passenger onboard the Grand Princess.
 7         2.     Plaintiff Mario Batz is sui juris, is a resident of Fairfax, California, and was
 8   a passenger onboard the Grand Princess.
 9         3.     Plaintiff Brian Kirby is sui juris, is a resident of San Antonio, Texas, and
10   was a passenger onboard the Grand Princess.
11         4.     Plaintiff Aurora Kirby is sui juris, is a resident of San Antonio, Texas, and
12   was a passenger onboard the Grand Princess.
13         5.     Princess Cruise Lines Ltd. is incorporated in Bermuda, with its headquarters
14   in Santa Clarita, California. The action is being filed in this Court pursuant to the terms
15   and conditions of the Passenger Contract issued by Defendant, Princess Cruise Lines, Ltd.
16   Princess Cruise Lines Ltd. may be served via its registered agent, CT Corporation System,
17   818 West Seventh Street, Suite 930, Los Angeles, California 90017.
18                                                II.
19                                   JURISDICTION AND VENUE
20         6.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 because
21   complete diversity of citizenship exists between Plaintiffs Brian Kirby and Aurora Kirby
22   and PRINCESSS, and Plaintiffs seek damages in excess of $1,000,000 (One Million
23   Dollars) exclusive of interest, costs, and attorneys’ fees, which greatly exceeds the
24   minimum amount of controversy required by § 1332.
25         7.     This Court also has Admiralty subject matter jurisdiction pursuant to 28
26   U.S.C. § 1333 as this case involves a maritime tort. The type of incident and injuries
27   suffered by Plaintiffs had the potential to impact maritime commerce as Plaintiffs are at
28   serious risk of imminent harm as a result of being exposed to the Coronavirus running
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 1   rampant aboard the cruise ship upon which they were paying passengers. Plaintiffs seek
 2   damages in excess of the minimum required by this Court.
 3         8.     The Court has general personal jurisdiction over PRINCESS as
 4   PRINCESS’s principal place of business is located in Los Angeles County, California;
 5   as such PRINCESS is “at home” in California for purposes of any exercise of personal
 6   jurisdiction. In addition, PRINCESS conducts substantial business within the state of
 7   California, including operating cruises from ports in San Francisco, San Diego, and Los
 8   Angeles. PRINCESS markets cruise vacations to California residents and employs
 9   thousands of California residents to work at its California headquarters.            It was
10   foreseeable at all times that PRINCESS could be hauled into court in the State of
11   California for conduct that caused injuries; in fact, PRINCESS’s Passenger Contract
12   requires claimants like Plaintiffs in this action, to bring suit to vindicate personal injury
13   claims in the United States District Court for the Central District of California. At all
14   times hereto, PRINCESS owned and operated the cruise ship the Grand Princess.
15   Plaintiffs were passengers aboard the Grand Princess that departed out of San Francisco
16   on February 21, 2020, and was anchored off the coast of San Francisco from March 4-9,
17   2020, as a result of an outbreak of COVID-19. The exercise of personal jurisdiction over
18   PRINCESS by this Court comports with due process and is consistent with traditional
19   notions of fair play and substantial justice.
20                                               III.
21                                    FACTUAL BACKGROUND
22         9.     In the months preceding the filing of this Complaint, there has been a
23   worldwide outbreak of a new strain of the Corona virus. This new strain is commonly
24   known as COVID-19. The virus began in China in December 2019, and has quickly
25   spread throughout Asia, Europe, and North America. The virus causes fatigue, fever, and
26   a dry cough. It can be fatal. There have been over 2,000,000 cases worldwide and over
27   150,000 deaths as result of COVID-19. COVID-19 gained increased public attention
28   when the Diamond Princess cruise ship (also owned and operated by Defendant) suffered
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 1   an outbreak of the disease in early January 2020 in Yokohama, Japan. The outbreak
 2   began with ten cases and rapidly multiplied to 700 cases, as a result of the flawed two-
 3   week quarantine on the ship. The Center for Disease Control issued a statement on
 4   February 18, 2020, that “the rate of new reports of positives new on board [the Diamond
 5   Princess], especially among those without symptoms, highlights the high burden of
 6   infection on the ship and potential for ongoing risk.” Seven of Defendant’s passengers
 7   died as a result of COVID-19.
 8         10.       Plaintiffs were paying passengers who boarded PRINCESS’s Grand
 9   Princess cruise ship on February 21, 2020. The Grand Princess was carrying 2,421
10   passengers and 1,113 crew members at the time it set sail.
11         11.       It would only stand to reason, having experienced such a traumatic outbreak
12   on board one of its vessels only four weeks prior to Plaintiffs’ voyage on board the Grand
13   Princess that PRINCESS would have learned to take all necessary precautions to keep its
14   passengers, crew, and the general public safe. Unfortunately, PRINCESS did no such
15   thing. Consequently, Plaintiffs Brian Kirby and Geraldine Drake were exposed to and
16   have been diagnosed with COVID-19 infection. Plaintiffs Aurora Kirby and Mario Batz
17   were exposed to actual risk of immediate physical injury proximately caused by the
18   Defendant’s negligence. Plaintiffs have suffered other harms as a proximate result of that
19   negligence.
20

21                                     CLAIMS FOR RELIEF
22                                                IV.
23                                           NEGLIGENCE
24         Plaintiffs re-allege all allegations in paragraphs 1 through 11 above as if alleged
25   fully herein.
26         12.       PRINCESS owed Plaintiffs, who were paying passengers who boarded the
27   Grand Princess on February 21, 2020, the duty to ensure that they would not be exposed
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 1   to unreasonable risk of harm that PRINCESS knew or should have known about while
 2   sailing on its vessel.
 3           13.   PRINCESS breached that duty. It had knowledge that at least two of its
 4   passengers from the prior Grand Princess voyage who disembarked the Grand Princess
 5   early on February 21, 2020 had symptoms of coronavirus. Despite that, PRINCESS made
 6   the conscious decision to continue sailing the next voyage of the Grand Princess, which
 7   began later on February 21, 2020 with another 3,534 passengers and crew on an infected
 8   ship.
 9           14.   Specifically, PRINCESS was aware of at least two passengers who
10   disembarked its ship on February 21, 2020 in San Francisco had symptoms of the
11   coronavirus. PRINCESS went as far as to send emails on Wednesday, February 25, 2020
12   to passengers who disembarked the Grand Princess on February 21, 2020 notifying them
13   of the potential of exposure to the coronavirus while onboard their cruise.
14           15.   To make matters even worse, there were 62 passengers on board the
15   Plaintiffs’ cruise, who remained on board after the conclusion of the prior voyage. Those
16   62 carry-over passengers were exposed to the passengers that were confirmed to be
17   infected; some of the infected passengers to whom the carry-over passengers were
18   exposed later died from coronavirus.
19           16.   In continuing to sail with another 3,534 passengers and crew (including
20   Plaintiffs), on the cruise that began on February 21, 2020, knowing that some of those
21   passengers and crew had already been exposed to COVID-19, PRINCESS has exposed
22   Plaintiffs to actual risk of immediate physical injury.
23           17.   PRINCESS is further negligent in failing to have proper screening protocols
24   for COVID-19 before boarding the passengers on Plaintiffs’ voyage. Despite the
25   knowledge and experience it had with the outbreak of the disease on the Diamond
26   Princess just a mere four weeks prior to the February 21, 2020 cruise, PRINCESS did not
27   have proper screening protocol in place to minimize the risk of exposure of the disease
28   to its passengers and crew.
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 1         18.    Prior to boarding the Grand Princess on February 21, 2020, passengers were
 2   simply asked to fill out a piece of paper confirming they were not sick. No passenger was
 3   questioned or examined in any capacity. Incredibly, not one of those 62 passengers or
 4   crew members who were mixing and mingling with the infected prior passengers were
 5   ever examined during the instant voyage until being tested for the virus on Thursday,
 6   March 5, 2020, two weeks after the ship sailed.
 7         19.    As a result of PRINCESS’s negligence, Plaintiffs Geraldine Drake and Brian
 8   Kirby were exposed to and infected by COVID-19.
 9         20.    As a result of PRINCESS’s negligence, Plaintiffs Mario Batz and Aurora
10   Kirby were exposed to an actual risk of immediate physical injury from COVID-19
11   exposure.
12         21.    Finally, PRINCESS is negligent in failing to adequately warn Plaintiffs
13   about the potential exposure to COVID-19 prior to boarding the ship on February 21,
14   2020, and again during the sailing of said cruise. Defendant had actual knowledge of at
15   least two passengers who sailed on its ship the week prior, disembarked with symptoms
16   of coronavirus, and one confirmed death as a result. Defendant also knew that there were
17   62 passengers and crew who were onboard that same sailing, who later boarded the Grand
18   Princess with Plaintiffs, and failed to inform Plaintiffs at any time prior to boarding or
19   while they were already onboard, that there was an actual risk of exposure to COVID-19.
20   In addition, PRINCESS failed to inform Plaintiffs that a crew member aboard their cruise
21   actually disembarked in Hawaii as a result of COVID-19.
22         22.    If Plaintiffs had knowledge of this actual risk of exposure prior to boarding,
23   they would have never boarded the ship. If they were informed of the risk on February
24   25, 2020, when the former passengers were notified by email, Plaintiffs would have
25   disembarked at the first port of call in Honolulu on February 26, 2020. Due to
26   PRINCESS’s outright negligence in failing to warn Plaintiffs of the actual risk of
27   exposure to COVID-19 aboard its infected ship, Plaintiffs were quarantined in their cabin
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 1   along with the rest of the passengers and crew, off the coast of San Francisco, anxiously
 2   awaiting their fate, for over six days.
 3         23.    Additionally, Plaintiffs were held in further quarantine on land for at least
 4   an additional two weeks.
 5         24.    As a direct and proximate result of the aforementioned negligence of
 6   PRINCESS in exposing Plaintiffs to actual risk of immediate physical injury, Plaintiffs
 7   suffered from bodily injury and/or emotional distress from COVID-19 exposure as they
 8   sat minute after minute in their confined cabin on an infected vessel, as they continued to
 9   sit in additional quarantine on land, and after they left quarantine. This bodily injury
10   and/or emotional harm will continue to plague them.
11         25.    WHEREFORE, Plaintiffs demand judgment against Defendant PRINCESS
12   for damages suffered as result of their negligence and a trial by jury on all issues triable.
13                                                V.
14                                      GROSS NEGLIGENCE
15         Plaintiffs re-allege all allegations set out in paragraphs 1 through 25 above as if
16   alleged fully herein.
17         26.    PRINCESS’s conduct in deciding to continue to sail the Grand Princess with
18   Plaintiffs, knowing that the ship was infected from two previous passengers who came
19   down with symptoms of COVID-19, and had 62 passengers on board who were
20   previously exposed to those two infected individuals, along with the prior crew, shows a
21   lack of any care on the part of PRINCESS, amounting to gross negligence. Defendant
22   knew how dangerous it was to expose Plaintiffs and the rest of its passengers to COVID-
23   19 in light of its experience with the Diamond Princess a short four weeks prior, and yet
24   it departed from what a reasonably careful cruise line would do under the circumstances
25   in continuing to sail with Plaintiffs.
26         27.    Moreover, PRINCESS’s conduct in failing to warn Plaintiffs of their actual
27   risk of harm in being exposed to COVID-19, either prior to boarding or while they were
28   already on board, in light of the prior passenger who came down with symptoms and later
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 1   died, along with others who came down with symptoms from that prior voyage, and the
 2   crew member who disembarked during this voyage due to COVID-19, amounts to an
 3   extreme departure of a what a reasonably careful cruise line would do.
 4            28.   PRINCESS chose to place profits over the safety of its passengers, crew,
 5   and the general public in continuing to operate business as usual, despite their knowledge
 6   of the actual risk of injury to Plaintiffs.
 7            29.   WHEREFORE, Plaintiffs demand judgment against PRINCESS including
 8   punitive damages suffered as a result of the gross negligence of PRINCESS, and a trial
 9   by jury on all issues triable.
10                                                 VI.
11                                      PRAYER FOR RELIEF
12            WHEREFORE, Plaintiffs pray judgment against Defendants as hereinafter set
13   forth:
14            a.    For compensatory and general damages in an amount according to proof;
15            b.    For past and future medical, incidental, and service expenses according to
16                  proof;
17            c.    For past and future emotional distress;
18            d.    For punitive damages to be awarded according to proof;
19            e.    For pre- and post-judgment interest on all damages as allowed by the law;
20            f.    For costs of suit incurred herein;
21            g.    For attorney fees under existing law; and
22            h.    For such other and further relief as the Court may deem just and proper.
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24   ///
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 1                                              VII.
 2                                        JURY DEMAND
 3         The Plaintiffs hereby demand trial by jury of all issues so triable.
 4

 5   Dated: April 24, 2020                         SINGLETON LAW FIRM, APC
 6                                                 By: /s/Gerald Singleton
                                                       Gerald Singleton
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                                                   Attorneys for Plaintiffs
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     COMPLAINT
